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REPORT ON MENTAL HEALTH ISSUES AT LOS ANGELES COUNTY JAIL
by TERRY A. KUPERS, M.D., M.S.P., June 27, 2008

|. Background

lam a board certified psychiatrist, Institute Professor at the Wright Institute,
Distinguished Life Fellow of the American Psychiatric Association, and an expert on
correctional mental health issues. | have testified more than two dozen times in state
and federal courts about the psychiatric effects of jail and prison conditions and the
quality of correctional mental health treatment, and | have served as a consultant to the
U.S. Department of Justice and Human Rights Watch. | am author of Prison Madness:
The Mental Health Crisis Behind Bars and What We Must Do About It (Jossey-
Bass/Wiley, 1998), co-editor of Prison Masculinities (Temple University Press, 2001),
and a Contributing Editor of Correctional Mental Health Report. | was the recipient of
the Exemplary Psychiatrist Award presented by the National Alliance on Mental lilness
(NAMI) at the 2005 annual meeting of the American Psychiatric Association. My c.v.
and a list of forensic cases of the past four years are attached to this report as Exhibit A
& B, respectively. | have been retained by the ACLU in this case. This report is
preliminary in the sense that | expect to review more documents and conduct more
tours of the facility as the need arises.

| testified in Rutherford v. Pitchess in 1978. In the intervening 30 years | have
been retained in a few forensic cases involving the Los Angeles County Jail, but | had
no further involvement in the Rutherford litigation until | was asked by plaintiff's counsel

in March, 2008, to investigate the facility and write a report. | reviewed documents,

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including declarations filed by 13 ex-prisoners' previously confined and released from
the jail, declarations and clinical charts for 15 additional ex-prisoners, DOJ Reports,
correspondence between the ACLU and Los Angeles County about Rutherford, the
4/12/06 declaration of Tony Bair, ACLU summaries of progress in the Rutherford
litigation, and summaries of legal contacts with a number of prisoners. On May 8 and 9
| toured the Los Angeles County Jail (Men's Central Jail or MCJ, Twin Towers 1 & 2 or
TT1 & TT2, and Inmate Reception Center or IRC), talked with mental health and
custody staff, and interviewed 18 prisoners in some depth in private, confidential
settings. | also interviewed several more prisoners in more casual, cell-front settings as
| toured the units. During my tour, Dr. David Kidwell, M.D., and Dr. Keith Markley, M.D.,
were kind enough to sit at computers with me and review clinical charts of the prisoners
| was to interview. In the interest of confidentiality, | have assigned each prisoner
mentioned in this report a number, 0.1, 0.2, 0.3, etc. Exhibit C contains the list of
prisoner names and assigned numbers.
| appreciate the hospitality of both custody and mental health staff during my
tour, the efficiency with which my tour and interviews were arranged, and the
willingness of the director of mental health programs to meet with me and hear my

feedback.

ll. There is a Very Large Number of Prisoners in Need of Mental Health Services
The number of prisoners nationwide suffering from serious mental illness has been

expanding geometrically for several decades. Deinstitutionalization began in earnest in the

 

'‘ Throughout, | will use the generic term "prisoner" to refer to pre-trial detainees in jail,
sentenced inmates in jail, and sentenced prisoners in a state prison facility.

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1980's, as the state mental hospitals discharged large numbers of individuals suffering from
serious mental illness. There was an expectation, based on studies in community mental
health indicating that treatment in the community was superior to hospital treatment, that
resources would be transferred to community agencies where community mental health
treatment and "wrap-around" services would be provided, and consequently individuals who
at one time were left to vegetate in mental hospitals would attain a higher quality of life in
supported residential programs (including halfway houses) in the community. But the
promise was never realized, as public mental health programs experienced successive
budget cuts and housing became less affordable.

The population of individuals suffering from serious mental illness quickly became
disproportionately represented among the homeless, and eventually among those behind
bars. In 1955, there were approximately 550,000 patients in state psychiatric hospitals and
V.A. psychiatric units in the USA. Today, the number of patients in mental hospitals (who
are not there because of forensic status) is less than 60,000. Meanwhile, according to a
recent study from the Federal Bureau of Justice Statistics, there are upwards of a million
individuals suffering from significant mental illness in our jails and prisons. The Los
Angeles County Jail has been described by many experts and commentators as the largest
psychiatric hospital in the country. In other words, "de-institutionalization" has become
what many mental health experts now term "trans-institutionalization," as our society has
transferred the population that once resided in psychiatric hospitals into the jails and
prisons.

The reasons for the expanding prevalence of mental illness in correctional settings

are complex, including shortcomings in our public mental health systems, the tendency for

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post-Hinckley criminal courts to give relatively less weight to psychiatric testimony, the
incarceration of large numbers of drug offenders including those with dual diagnoses
(substance abuse and mental illness), and the growing tendency for local governments to
incarcerate homeless people for a variety of minor crimes.

National epidemiological studies until recently had placed the prevalence
of serious mental illness in jails and prisons between approximately 15% and
30%. The population in corrections has risen appreciably in recent decades (it is
currently ten times what it was in the 1970s), and according to most experts and
statisticians examining correctional systems, the percentage of prisoners with
serious mental illness has also risen, Thus, the 2006 Special Report from the
Federal Bureau of Prison Statistics, “Mental Health Problems of Prison and Jail
Inmates,” confirms that there are a huge and unprecedented number of
individuals suffering from serious mental illness behind bars today, and
concludes that 64% of jail inmates suffer from a significant mental health
problem, as measured by a structured interview (not necessarily a clinician's
diagnosis); and notes that the proportion of incarcerated individuals suffering
from serious mental illness has actually been rising even as the incarcerated
population multiplies.? The Bureau of Justice Statistics had placed the
percentage of inmates suffering from a significant mental condition at 16% in its

comparable 1999 study.’ The 2006 Bureau of Justice Statistics Report

 

2 Mental Health Problems of Prison and Jail Inmates,” U.S. Dept. of Justice, Bureau of
Justice Statistics Special Report, can be found at
http://www.ojp.usdoj.gov/bis/pub/pdf/mhppji.pdf, September, 2006.

3 Ditton, P. (1999) “Mental Health and Treatment of Inmates and Probationers,” U.S.
Dept. of Justice, Bureau of Justice Statistics Special Report.

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continues that prisoners with mental health problems are twice as likely as other
prisoners to have been homeless prior to incarceration.

Recent epidemiological studies are consistent with the Bureau of Justice
Statistics’ findings. For example, Traolach Brugha and colleagues found, ina
national British study (the statistics are comparable in the USA, and the Brugha
study was published in the American Journal of Psychiatry) that the prevalence
of psychotic disorders is ten times as high in corrections as it is in the community
at large.* A more recent research report concludes that among 320 randomly
selected lowa state prisoners, more than 90 percent met criteria for a current or
lifetime psychiatric disorder, the most frequent being substance use disorders
(90%), mood disorders (54%), psychotic disorders (35%), antisocial personality
disorder (35%), and attention deficit hyperactivity disorder (22%).° In the lowa
study, thirty percent of the offenders were rated at risk for suicide. It is this
expert's opinion, from a review of the epidemiological research, that the
prevalence of mental illness is greater in jails than in prisons.

Considering the large proportion of jail prisoners with significant and serious
mental illness, relatively few prisoners in the Los Angeles County Jail are receiving
mental health treatment. By my calculations, only 11.8% of male prisoners in the Los
Angeles County Jail are on the mental health caseload (on May 9, 2008, the male

census in the jail was 17,687 per Inmate Reception Center Daily Inmate Statistics, and

 

4 Brugha, T., Singleton, N., et al. (2005). “Psychosis In the Community and in Prisons:
A Report from the British National Survey of Psychiatric Morbidity,” American Journal of
Psychiatry, 162,4, 774-780.

5 "Erequency of Mental and Addictive Disorders Among 320 Men and Women Entering
the lowa Prison System: Use of the MINI-Plus," by Tracy D. Gunter, Stephan Arndt, and
others. Journal of the American Academy of Psychiatry & Law, 36:27-34, 2008

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the male mental health caseload was 2,088 per an oral report that afternoon by Dr.
David Kidwell). It is important to note that, of the 2,088 individuals reported on the
mental health caseload, at least 350 are receiving only medications while being
subjected to severe crowding or isolation and receiving no mental health programming -
this is far from adequate mental health treatment. | would estimate with a high degree
of certainty that at least double the number on the current caseload need mental health
treatment. | base this partly on national figures for the prevalence of mental illness in
jails, partly on the frequency of complaints about inadequate mental health care in
general population and disciplinary housing units in the jail, and partly on the fact that it
was so easy for me, in a two-day tour, to locate a significant number of prisoners who
suffer from serious mental illness and yet have never been on the caseload or have
been discharged from the caseload ("de-classed" or "de-classified) and transferred from
mental health housing to general population, administrative segregation or disciplinary

housing.

Il. Crowding and lack of programming are a serious hazard

The prison and jail population in the USA has climbed to well over 2 million, and
it keeps on growing. This represents a multiplication by ten from the jail and prison
population of the 1970s when the Rutherford litigation commenced. Already by the
1970s there was convincing research showing that jail and prison crowding caused

increased rates of violence, psychiatric breakdown and suicide in correctional facilities.°

 

° Paulus PB, McCain G and Cox VC, (1978), Death Rates, Psychiatric Commitments, Blood
Pressure, and Perceived Crowding as a Function of Institutional Crowding, Environmental
Psychology and Nonverbal Behavior, 3, 107-117; Thornberry T and Call J, (1983),

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One had only to tour a jail or prison to understand how violence and madness were
bred by the crowding. Consider a dormitory that was built for a small number but had
to be expanded to house 150 prisoners in bunk beds lined up in rows as in the Los
Angeles County Men's Central Jail. A prisoner cannot move more than a few feet away
from a neighbor, and lines form at the pay telephones and the urinals. Likewise, when
four men are crowded into the small cells | observed, there is barely enough room for
one man to get off of his bunk and head for the urinal. In the cells | viewed, there are
no chairs and no desks, so sitting or lying on one's bunk are the only options. With
tough men crowded into small spaces and forced to lie on their bunks or wait in lines
(see Declaration of Tony Bair regarding the long lines he observed during his tours),
altercations are practically inevitable. For example, there is the wait to talk on the
phone. The next prisoner in line begins to harass the prisoner on the phone, saying
he’s been on too long, the man on the phone turns and takes a swing at the other, and
there’s a fight. Irritability mounts, tempers flare. Some men get into fights or curse an
officer and are ticketed and sentenced to a stint in disciplinary segregation. As the men
become angrier, their confusion and symptoms of serious mental illness mount. (In
general, as an individual prone to psychosis becomes angrier, his thinking becomes
more regressed and irrational, and therefore subjecting prisoners prone to psychosis to
conditions that exacerbate irritability and anger has the effect of worsening their mental
illness, often precipitating a state of acute decompensation or "breakdown.") Others
retreat into their bunks where they remain all day. If they are prone to depression, the

self-imposed isolation within the crowded space worsens their condition and leads to

 

Constitutional Challenges to Prison Overcrowding: the sclentific evidence of harmful effects.
Hastings Law Journal, 35, 313-353,

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thoughts of self-harm. Of course, open expressions of rage and frequent eruptions of
violence tend to push individuals prone to psychiatric breakdown over the edge. Some
prisoners with mental illness, especially if they are not provided adequate treatment,
have trouble controlling their temper and other impulses on account of their mental
illness, and they get into trouble repeatedly. Others suffering from mental illness
become preferred victims of the violence. The more violence, the more madness, and
the crowding exacerbates both.
| provided a declaration in Rutherford v. Pitchess on October 23, 1978. Since |

wrote that declaration, on account of the Rutherford litigation as well as the DOJ
intervention, there have been many improvements at the Los Angeles County Jail. The
Twin Towers were constructed. The mental health staff has been enlarged. There is a
greater array of mental health services, and a significant number of mental health
housing units. But in the same thirty years, there seem to have been very few changes
in the architecture of the Men's Central Jail. Most cells are still windowless. The men
are taken to recreation much less frequently than required (many said they are lucky to
get to recreation once per month, even though they are entitled to go a minimum of
three times per week - and this problem pre-dated the construction that was going on in
the rooftop recreation area when | toured MCJ.) On the day | toured the MCF there
was severe crowding in every area, but the Medical Disability/Stepdown area, 6050,
was especially poignant. Men in wheelchairs, on crutches, and otherwise disabled
were stuffed like sardines into long interconnecting, dark rooms with far too many bunk

beds for them to be able to walk around. There were no desks and | did not see chairs.

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The cells were dark and clearly, if one man wanted to move between the row of bunks,
the other men would have to actively get out of his way for him to pass.

Then, in crowded facilities where rehabilitation programs are sparse or non-
existent, as in the Los Angeles County Jail, and prisoners are relatively idle, the worst
traumas and abuses are experienced by prisoners suffering from mental illness. It is
not difficult to figure out the reasons for this unfortunate dynamic. Consider the jail
rapist’s options in selecting a potential victin. He wants to choose his victim well, the
wrong choice might lead to lethal retaliation. If he rapes a gang member, or evena
prisoner with friends, he will be forever vulnerable to deadly retaliation. But if he
selects a prisoner with significant mental illness, a loner who would not likely have
friends who might retaliate, he is more likely to get away with the rape and avoid
retaliation. Thus prisoners with serious mental illness, especially if they are not
provided a relatively safe and therapeutic treatment program, are prone to victimization
by other prisoners.’ And of course the repeated traumas they are forced to endure in
jail make prisoners’ mental disorders and their prognoses far more dire.®

Crowding makes it more difficult to perform mental health and health assessments.
It is very difficult to adequately assess the 13,000 prisoners who enter the jail each
month. And the massive crowding means there are more inmates in need than can be
accommodated on the mental health caseload. Of course, if a prisoner with serious

mental illness is inadequately assessed and discontinued from the mental health

 

7 Human Rights Watch (2001) No Escape: male rape in U.S. prisons. Human Rights Watch,
New York.

8 Kupers T., (2005), Posttraumatic Stress Disorder (PTSD) in Prisoners, in Managing Special
Populations in Jails and Prisons, (ed. Stan Stojkovic) Civic Research Institute, Kingston, New
Jersey

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caseload, he is left to his own devices to survive or be victimized in the general
population, or to run afoul of the disciplinary system and be consigned to punitive
segregation. Prisoners with mental illness are not known for their ability to follow rules,
neither the formal rules of the jail nor the unwritten laws of the male “code.” They tend to
get into trouble in both regards. Either they are caught by security staff breaking rules or
they get into a fight or curse an officer, and they are sent to segregation as punishment,
where their psychiatric condition is likely to deteriorate. Or, in general population, they
are victimized by other prisoners.
| was stunned by the degree of overcrowding | witnessed when | toured the Los

Angeles County Jail on May 8 & 9, 2008. | had testified about severe overcrowding in
Men's Central Jail in Rutherford v. Pitchess in 1978. Since that time the Twin Towers
were built and the capacity of the jail greatly enlarged. But the population has also risen
geometrically, and the massive overcrowding becomes quite obvious as soon as one
enters Men's Central Jail. The research literature on crowding in correctional institutions,
and the standards developed by the American Correctional Association and other
agencies, distinguish between "social density" and "spatial density." Social density is the
number of individuals in a room or area, and spatial density is the square footage
provided per individual, The standards published by the American Correctional
Association mandate that there be 35 square feet of "unencumbered space" (meaning not
occupied by beds or furniture) for each prisoner.? Tony Bair performed calculations on all
size cells and dorms at MCJ and found the jail to be very far beneath the standard.

Crowding can take two forms: too many individuals in a given size area and too little

 

° ACA Standards for Adult Local Detention Facilities, 3rd Edition, 2006 Supplement

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space per individual. If a man is alone ina cell there is no social density crowding, but
the 2-man and 4-man cells and the dormitories in Men's Central Jail (MCJ) absolutely
constitute severe overcrowding both in terms of social and spatial density.

When 150 or more prisoners are crowded into a room that has little space beyond
what is taken up by the row upon row of bunks beds they sleep in, there is little room for
men to move without bumping into each other, and it is impossible for the officer assigned
to supervise the dormitories to actually see what is going on. Indeed, when | toured two
adjacent dormitories on May 8, 9300 and 9400, | entered the officer's booth and talked to
the officer responsible, by herself, for supervising the 153 prisoners in 9400 as well as the
147 prisoners in 9300. Looking out into the dormitories through the window in her control
booth, it is impossible to see prisoners in the lower bunks beyond the second or third
nearest rows of bunks. With so many prisoners milling about, idle, it would not be
possible for her to see that, for example, a beating or rape was occurring in a lower bunk
beyond the few rows she is able to visualize from her control booth (and there is no video
monitoring of any other areas). Again, there is almost no furniture aside from the bunk
beds.

| observed the cells in 2600 that currently house two or four prisoners. It is difficult
for more than one man at a time to be out of his bunk, and in many of the cells the lack of
furnishings, e.g. there are no desks nor chairs, makes lying in a bunk all day the only
option. There is a cafeteria in MCJ, but | understand it is not being used, and therefore
the men have to actually eat their meals in their cells, mostly on their bunks.

| understand that the Sheriff has stated that overcrowding is a totality of

circumstances. And | understand that some changes have occurred at MCJ since Tony

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Bair provided his declaration, for example cells that previously held six men now contain
four, and cells that held four men now contain two. But the men remain in their cells
nearly 24 hours per day, they eat meals in their cells, there is no furniture except a bunk,
and there is almost nothing in the way of programming or mental health treatment. In
addition, | have not yet mentioned other destructive conditions at MCJ. Consider lighting,
for example. There is a double problem, the fixtures do not provide sufficient light for
reading, and then lights are left on all night, interfering with sleep. There are still no
windows in the cells, and this means the natural light humans need to regulate their
natural diurnal rhythms are not available. One prisoner solemnly confided that he would
give anything just to see a bird - in other words, there is a natural craving for some
contact with the natural world, and living for years in a windowless cell is very noxious,
from a psychiatric perspective. With the crowding there is a slower response than
otherwise to disrepair, and | saw several cells where the lights were broken or
dysfunctional and the occupants were in the dark. Officers reported that a work order had
been sent, but days had passed. The noise is very loud because of the overcrowding,
and the older architecture means the acoustics exacerbate the noise problem. Thus, the
totality of circumstances certainly serve to magnify the toxic effects of the overcrowding.
Conditions at MCJ today are eerily similar to the conditions in 1978 when |

submitted a declaration in Rutherford. In that declaration, | wrote that"... many of these
mentally disordered prisoners are receiving psychotropic medications; prisoners in this
module are rarely seen by psychiatrists or by mental health technicians and do not
receive individual or group psychotherapy; prisoners in this module are managed by

deputy sheriffs who have no training in handling psychiatric patients; most of the

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prisoners in this module receive no opportunity to exercise indoors or outdoors; most of
the prisoners in this module are locked alone in their one-man cells almost all the time,
including meals..." | offered similar observations about the multiple-occupancy cells and
dormitories. It is stunning how unchanged the conditions are in the Men's Central Jail,
and how the men therein are still relegated to idleness in a cell and still lack adequate
mental health treatment. Further in that declaration | wrote: "I conclude that high security
prisoners are confined under conditions extremely detrimental to their mental health."
Further, | wrote: "Based upon the above-described facts, | conclude that conditions in the
Jail are extremely detrimental to the mental health of inmates and are a likely
predisposing factor in eventual mental disorders of persons incarcerated under the
conditions | have assumed." It cannot be emphasized enough that those conditions,
including severe overcrowding, forced idleness and lack of adequate mental health care,
are very much the same today.

Obviously the crowding makes the facility more dangerous. The standards
published by the American Correctional Association are clear: "Medium-security inmates
housed in multiple-occupancy cells/room require direct supervision.""° But the cells
throughout MCu do not permit "direct supervision." | have already mentioned the lack of
visibility from the officers booth outside the large dormitories at MCJ. Another example,
where cells are arranged along a corridor and the officer has no desk inside the corridor
space, he or she must enter through the gate and walk along the corridor to view the
orisoners. In his declaration, corrections expert Tony Bair pointed out severe

overcrowding, cells in disrepair, “inmates with different classifications were frequently in

 

10 ACA Standards for Adult Local Detention Facilities, 3rd Edition, 2006 Supplement

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the same vicinity" (p. 4), long lines of inmates waiting for transfer into and out of cells and
dormitories, long delays in visiting, relatively little supervision of inmates, and various
other conditions that he feels pose a serious concern about security in the Los Angeles
County Jail. Obviously all of these harsh conditions bear even more negatively on
prisoners suffering from mental illness, who are more prone to decompensate under
harsh conditions and are more prone to be victimized.

| also toured one Administrative Segregation Unit in MCJ, 2904. | was struck by
the small cells - approximately 5'X6' (I measured with my foot, | had no tape measure with
me). This is very far beneath the minimum standard of the ACA for a single jail cell.
There are no windows in these cells, and some even have solid doors that close over the
bars. | was told by officers that the solid doors are never closed when a prisoner is in the
cell, and | was told by prisoners that they are closed. One wonders why, if the doors are
never closed, they remain on the cells. In any case, if the solid door were to be closed
with a prisoner in the cell, the sense of claustrophobia and isolation would be very severe
and confinement in such a cell would constitute unacceptably toxic conditions with
resulting suffering as well as serious psychiatric harm. When the prisoners in these cells,
who have very little in the way of amenities, are taken to recreation, they are placed alone
in a cage-like structure that permits very little large muscle exercise. They are permitted
to shower, but otherwise they have almost no time out of their cell. Thus, these cells
constitute severe spatial density crowding that is well beneath minimum standards.

Throughout the Men's Central Jail the cells and dormitories violate minimum
standards in terms of both social and spatial density. The ACA standards include a

provision for compensatory out-of-cell time for jail prisoners confined in substandard cells

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or dormitories. For example, the ACA Standards for Adult Local Detention Facilities, 3rd
Edition, Supplement 2006, requires 35 square feet of unencumbered space per prisoner,
but alters the requirement depending on how much time the prisoner spends in his cell or
dormitory: "When confinement exceeds ten hours per day, there is at least 70 square
feet of total floor space per occupant." In other words, the more time the prisoner is
confined to his cell or dormitory, the more square feet of space are required per prisoner.
Thus the ACA standards essentially suggest a possible partial remedy for crowding:
compensatory out-of-cell time.

| am citing the ACA standards merely to provide a frame of reference. In general,
the ACA standards are consistent with what we know from research on crowding - for
example, they cover spatial and social density, and they reflect that if an individual is
confined in a very small space the negative effects can be somewhat ameliorated by time
spent outside the space. But much more important than any standards is the fact that, in
human terms, it is intolerable to leave prisoners in harsh, crowded conditions that we
know cause psychiatric breakdown. It is even more intolerable to systematically de-
classify a significant number of prisoners known to suffer from serious mental illness and
condemn them to the hardships of crowded and noxious conditions that are well-known to
exacerbate mental illness and substantially increase the risk of suicide.

But it is obvious throughout the Men's Central Jail, and this applies to Twin Tower
high security units as well, that quite the opposite practice is the rule, and the prisoners
have almost no out-of-cell activities except for a few hours per week in the rooftop
recreation area - and prisoners universally tell me that they may or may not get their time

in recreation, depending on the availability of staff to move them. Most only get to

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recreation once per month. They never get to the day room, even though they are
supposed to be in the day room every other day, nor do they ever get to the cafeteria.
Thus, according to minimum standards and all we know from research on jail conditions,
the general population areas of the Men's Central Jail are massively overcrowded, and
the prisoners are almost entirely idle - a combination of toxic conditions that is guaranteed
to predictably increase the prevalence of violence, psychiatric breakdown and self-harm.

The same conditions that worsen psychiatric disorders also affect the staff and
make treatment problematic. After all, the staff, both custody and mental health staff,
spend quite a lot of time in the crowded conditions. Their irritability is enlarged by the
noise and the crowding, and, on average, staff tend to become increasingly insensitive
to prisoner concerns when they have to interact with masses of prisoners each day.
Officers become impatient, and are prone to gruffness, which leads to prisoners feeling
disrespected and becoming angry. Then, the prisoner's anger causes the officers to
punish them, often for rather minor infractions, and the prisoners become more
resentful. It is in this unfortunate mix that excessive force and other abuses become
more frequent occurrences.

Meanwhile, the large number of prisoners crowded into every space makes it
difficult-if-not-impossible for over-extended mental health staff to provide adequate
attention to the prisoners’ psychiatric needs. Cell-front interviews become
commonplace. Quite a few of the prisoners | interviewed at MCJ complained that it
was very difficult to get the psychiatrist to see them, there were long waits, and then
when they did get to see mental health staff, the mental health staff visited them at their

cell-front or talked with them for only a few minutes somewhere in the unit where they

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are housed. And lengthy individual or group psychotherapy sessions become
unimaginable. Psychotropic medications are not very effective when the patient is in
an overcrowded and stressful situation with little or no meaningful activity. The clinician
has little if any opportunity to develop a therapeutic relationship or even educate the
patient about the illness and the need for medications. This makes patient non-
compliance all the more frequent. Yet this is precisely the situation in the massively
overcrowded Los Angeles Jail.

It should be mentioned that toxic conditions are better tolerated for short periods
of time when a person knows they will soon be released or transferred to a setting with
less toxic conditions. Traditionally jails are a locus of short terms of detention, pre-trial
and for sentences less than a year. But if the prisoners | interviewed and those whose
records | reviewed are at all representative, there are many prisoners who remain in
the jail for years on end. There are many reasons for this, including long periods of
waiting for trial and long periods of waiting for a transfer to a forensic psychiatric
hospital. But the effect of the long stays in the Los Angeles County Jail is that the toxic
conditions, including massive overcrowding, a lack of meaningful programming, and
stints in punitive segregation, are all magnified, creating a virtual breeding ground for
psychiatric breakdown and self-harm.

In this discussion of crowding and other harsh conditions | have focused on
MCJ. But Twin Towers housing units are also affected. For example, the high security
units in Twin Towers || are designed for direct supervision. The intent was to have the
men remain in their cells for 8 hours at night, and then to be out of their cells, in the day

room, recreation areas and other activities, 16 hours per day. But the harsh reality at

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present is the men remain in their cells, idle, for as many as 22 hours per day. Even in
the K-7, K-8 and K-9 security level units in Twin Tower 2, the men are in their cells 22
hours per day. Therefore, even if, technically, the cells meet the space requirements of
the ACA standards, in practice, with the men remaining in them more than 10 hours per
day, they violate the standards. The more important point is that crowding makes the
conditions very harsh, even in the Twin Towers, and this has very detrimental effects

on prisoners with mental illness.

IV. The Mental Health Programs Have Very Positive Features

The mental health programs in place in Twin Towers | are impressive in many
regards. There is an array of services, including inpatient beds in the Forensic Inpatient
Program (FIP), crisis intervention/observation capabilities in TT1, a step-down or
subacute mental health unit, and mental health housing that is divided by geographic
service areas. There is an attempt to do pre-release planning and link with mental
health providers in the community. There is an attempt at collaboration between mental
health staff and custody staff, and it appears that a certain number of custody staff do
receive training on mental health issues (but it also appears that a significant number of
untrained custody staff interact with prisoners in mental health treatment housing, and
there are reports of insensitivity and abuse).

The Jail Mental Evaluation Teams (JMET) are excellent in concept, are
designed to provide assessment and crisis intervention to prisoners who are not in

mental health housing, and involve admirable collaboration between mental health and

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custody staff. But as | will report later, there are inadequacies in the work of the JMET
teams. The JMET teams provide counseling in the non-mental health housing units
(they conduct rounds only in the administrative segregation and disciplinary housing
units), but | could find no progress notes in the clinical charts | reviewed for such
counseling, and the prisoners outside the mental health housing units almost universally
report they receive no counseling.

The experts from DOJ (the U.S. Dept. of Justice) report continuing progress in
correcting previously reported inadequacies in mental health services within the jail,
including increased mental health staffing. And the mental health staff seem to be
conscientious and interested in improving mental health treatment within the jail. In
short, there are many very positive aspects of the mental health program at Los

Angeles County Jail.

V. Mental Health Treatment, While Robust in Twin Tower 1 Mental Health Housing

Units, is Inadequate in Other Areas of the Jail

Before visiting the jail on May 8 and 9, 2008, I had reviewed many documents
reflecting the presence in the Men's Central Jail and Tower | & II disciplinary housing
and administrative segregation units of many prisoners suffering from serious mental
illness who are either not receiving needed mental health treatment or are receiving
inadequate treatment. For example, in their March 13, 2003 DOJ Expert's Report, Drs.
Metzner and Dvoskin note on p. 9, "Based on information obtained from the mental

health staff and reports from inmates, it is uncontroverted that the only form of mental

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health treatment available in the pill call modules (in TT 1) involves the use of
psychotropic medications. Other mental health interventions were not available, despite
a number of inmates needing such interventions, While psychotherapy is not
necessarily required for every inmate on a pill call module, it must be available when it
is indicated by clinical judgment." | am aware that Drs. Metzner and Dvoskin have
returned to the LA County Jail after writing their 2003 Report, but | have not been able
to review subsequent Reports. | assume that there have been some improvements, but
nevertheless my findings during my tour and interviews with prisoners in May, 2208, are
equivalent to the complaints lodged by the DOJ experts in their 2003 Report. | conclude
there have been improvements, and the Sheriff's Department and Department of Mental
Health have added capable staff and tried to comply with the DOJ experts’
recommendations, but still the problems have not been resolved and are ongoing.

Also prior to my tour | reviewed notes from the ACLU to the Facility Captains
about their findings during weekly jail visits. As reflected in the ACLU notes, inmates
repeatedly complained about not receiving the medications they had been taking in the
community, waiting for many days or weeks to see the psychiatrist, being unable to get
to see the mental health staff, and having jail mental health staff discontinue
medications they had been taking with good results in the community. | am aware that
prisoners’ complaints are sometimes exaggerated or distorted and that Jail Mental
Health staff have explanations for some of these complaints. But the sheer volume of
the complaints recorded by the ACLU, and the uniformity of complaints emanating from
multiple informants who have no contact with each other, certainly reflect ongoing

serious problems. The declarations of former prisoners are entirely consistent with the

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patterns | discovered and will report here, and in many cases the former prisoners’
reports were corroborated by their clinical charts. Further, these complaints were
entirely consistent with what | discovered during interviews with prisoners, where | had
an opportunity to assess credibility, check verbal reports against chart notes, and
perform mental status examinations of my own. In other words, there was impressive
internal consistency in all the sources of information upon which | relied in forming my
opinions.

Mental health treatment outside of the mental health housing units in TT1 is
provided by Dr Markley and the JMET teams. These teams are composed of one or
more mental health counselors, a psychiatrist and a custody officer. The custody
officers | met who serve on these teams seemed compassionate, and | was told that
they have received training regarding mental health issues. However, there seems to
be very little mental health training for most other officers, and given the fact that
officers work over-time in most assignments, this means that prisoners with mental
illness outside of Tower 1 are often guarded by officers with little or no training in mental
health.

Coverage by the JMET teams is uneven at best. Quite a few prisoners in
general population, administrative segregation and disciplinary housing told me that a
member of the JMET team has been sympathetic on occasional short visits at cell-front
or in an office on the unit. But the great majority of prisoners | interviewed complained
that they have requested that mental health staff see them on multiple occasions and
had to wait weeks or months to be seen, or they were never seen. Their reports are

corroborated by the declarations of previously incarcerated inmates | reviewed. The

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majority complained that the psychiatrist spends, at best, a few minutes with them and
does not listen to their concerns about side effects from the medications they are
prescribed. Quite a few of the prisoners told me they have never seen a JMET team in
the many months they have resided in the jail. It is my understanding that the JMET
team conducts rounds only in administrative segregation and disciplinary housing units.
The 2003 DOJ Expert Report mentions there are approximately 1,500 prisoners in
segregation at any time. This is simply too many prisoners for the JMET team to
adequately assess and treat. Then, the fact that they are required to round on so many
prisoners means that general population prisoners will receive less attention. This
might explain why so many prisoners in non-mental health housing told me they had
great difficulty accessing mental health services.

| asked to observe a JMET team in action on 3100 Unit in Men's Central Jail. A
custody officer and Laura Bastianelli, R.N., did walk down the hall in front of the single
cells, keeping their distance from the prisoners, and speaking with each prisoner who
wanted to talk to them. The entire rounds lasted several minutes, and the nurse
reported that she had noted one prisoner who will need to be followed. | then walked
down the same row of cells and was informed by the prisoners that they had never seen
Ms. Bastianelli before, and usually an officer comes by alone and asks if they want to be
seen by mental health. The purpose of the JMET team's rounds seems to be to identify
new cases or exacerbations in known cases that require mental health treatment, but
then the team has nothing to offer in the way of treatment except transfer to the FIP or
mental health housing in Twin Tower | if the prisoner's condition is very serious (a

danger to self, others or unable to care for self in the jail), or to request a psychiatric

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evaluation in the non-mental health housing unit. | was told repeatedly by prisoners that
there is nothing available in the way of mental health treatment except the prescription
of psychiatric medications. This is far from adequate mental health treatment.

While | did not perform a rigorous review of clinical charts, the time | spent with
Drs. Kidwell and Markley looking at the digital charts for prisoners | interviewed
convinced me that there are deficiencies. Drs. Kidwell and Markley had some difficulty
navigating through the charts, and were unable to find for me treatment plans for most
of the patients. This means that if a mental health clinician attempts to review the chart
in preparation for an intervention with a prisoner on the mental health caseload, he or
she would not be able to find an adequate treatment plan and would not be able to
utilize the chart to track important clinical events during the patient's jail tenure.
Obviously, the more crowded the jail, the more patients the clinician needs to see, on
average, and the less time the clinician has to find needed information in the chart. As
a result of problems in the charts, the quality of mental health treatment suffers. In
other words, while electronic charting is a fine idea in theory, in practice at the Los
Angeles County Jail inadequacies in charting have actually become an obstacle to

adequate mental health treatment.

VI. There is a Pattern of Failure to Diagnose and Inappropriately Down-grading
the Diagnoses of Prisoners who Cannot be Accommodated in Mental Health

Housing

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| discovered several patterns in the under-diagnosing and inadequate treatment

of prisoners in the general population, administrative segregation and disciplinary
housing units in Men's Central Jail and Twin Towers. Some individuals were simply not
diagnosed at all in spite of the fact they complained of significant psychiatric history
and/or symptoms and requested mental health services. Some individuals with a long
history of serious mental illness were "un-diagnosed." For example, | saw several
cases where the diagnosis of Schizophrenia that a man had carried through several
psychiatric hospitalizations and that had earned him SSI total disability benefits in the
community was down-graded when he entered the LA County Jail to "no axis |
diagnosis" (the multi-axial diagnostic formulation in the Diagnostic and Statistical
Manual of Psychiatric Disorders or DSM IV lists most serious mental disorders on Axis |
and personality disorders on Axis Il), .a personality disorder, an "adjustment disorder," or
"malingering" (the exaggeration or feigning of symptoms to attain secondary gain). In
other words, the individual who had a long history of serious mental illness is deemed to
suffer from nothing more than a personality disorder or substance abuse, or to be
faking, so there is no mental illness worthy of mental health treatment. And in some
cases the individual was identified as suffering from a serious mental illness but the
mental health team concluded that the mental illness was not sufficiently symptomatic at
this time to warrant mental health housing (thus | discovered individuals who had been
declared incompetent by the court and were awaiting transfer to a state psychiatric
hospital, but were housed in general population or disciplinary housing with no mental

health treatment or treatment limited to medications).

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The following is an example of a prisoner with a serious mental illness who had
not been diagnosed when | interviewed him:

Prisoner 0.3. This Caucasian man is 46 years old, well-groomed
and articulate. He was arrested on March 7, 2008. He describes
periods of severe depression alternating with periods of hyper-
activity with racing thoughts and very little need for sleep. The
highs and lows each last for periods of weeks or longer. He had
been in jail a year earlier, and when he was in the community he
was homeless and had an alcohol problem. He has also been
prescribed strong psychiatric medications in the community, but he
inconsistently complied with the treatment. He volunteers: "I drink
to turn my head off." He has been in mental health housing in TT2
during prior stints in jail. Until a year ago he had a wife and five-
year-old child, but she left him. He knows he has cycles, getting
depressed and then manic, and that he needs help. He has held
good jobs in the past. He describes a cyclic pattern where he
works frenetically during periods when he is "high," then he is
reprimanded for something slight, he becomes very depressed, and
he loses the job. He has a sister with Bipolar Disorder, and he has
been diagnosed Bipolar in the community, although he did not
appear to have received medication based on this diagnosis. He
seems coherent upon mental status exam, but exhibits somewhat
pressured speech and hypo-manic affect. He told me he was seen
very briefly by the psychiatrist and prescribed some medications.
In fact, when he was evaluated at intake no mental health treatment
was recommended, in spite of a court order requiring that he
receive the medications he had been prescribed in the community.
Evidently he was only seen by a psychiatrist in Men's Central Jail
after the ACLU intervened and requested he be seen. On his
electronic chart for 5/6/08 there is the diagnosis Borderline
Personality Disorder, rule out Substance-Induced Mood Disorder,
and a later note diagnosing only alcohol abuse. It is noted in the
chart in 2007, during a previous admission, that he had been on
major psychotropic medications in the community. He received no
post-release planning or help when he left the jail a year earlier. He
is currently prescribed Remeron (an anti-depressant) and Benadry!
(an antihistamine used as a sleep aide). He will be homeless and
will not receive Medi-Cal benefits after he is released, so he will
require comprehensive planning for aftercare following his release
from jail. | understand that the usual practice at the jail does not
include providing medications for prisoners upon their release with
the exception of a "bridge prescription" when the individual is going
to another institution. Because this man is not in TT 1, he would

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ordinarily not receive adequate aftercare planning. But he needs
comprehensive discharge/aftercare planning.

This man is clearly suffering from Bipolar Disorder, which is not diagnosed in
the jail, and he is not being prescribed the medications he needs. In effect, an
opportunity is being missed to develop a therapeutic relationship with this man while he
is in jail (his release date is August, 2008), properly diagnose his serious mental illness,
and begin a mood-stabilizing medication such as Lithium or Depakote. Once he sees
the benefits of complying with treatment, it would be much more likely he could comply
with treatment after being released from jail, and, one hopes, remain clean and sober
while seeking steady employment and a place to live. This, in fact, is his stated wish,
but he has been unable to get the mental health team to provide adequate treatment. In
any case, his serious mental illness is not currently diagnosed and he is not receiving
adequate treatment. The lack of treatment while he is subject to the harsh conditions in
the overcrowded Men's Central Jail is very likely to worsen his condition and his
eventual prognosis.

The following is an example of a prisoner whose diagnosis has been
inappropriately downgraded:

Prisoner 0.14. This 34 year old African American man, who
was booked into the jail on October 27, 2006, is in Tower I
discipline (he says he is in "the hole"). Usually he is housed
in Tower 2 or MCJ, on K-9 status. Custody staff told the
ACLU that they have requested that he be transferred from
general population to mental health housing, without
success. His disciplinary cell has a solid door with lexsan
over the bars. His disciplinary infractions involve speaking
disrespectfully or not following orders, though he has
evidenced some violent behavior. He was found to be
incompetent to stand trial (IST) by the court and committed
to Patton State Hospital in 2007 for restoration of

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competence. He currently has a hold from Atascadero State
Hospital and had been waiting to be transferred for more
than 6 months at the time of our interview. His chart review
indicates that he was de-classed from mental health housing
because his blood levels showed he was not taking his
prescribed Depakote (a mood stabilizer - he was also
prescribed the anti-psychotic agent, Seroquel), and then his
diagnosis was downgraded from a serious mental illness on
Axis I to a personality disorder on Axis II. He reported he
has been diagnosed and treated in the community for
Bipolar Disorder and Paranoid Schizophrenia. He told me he
had been on SSI since 1993 when he was discharged from
CYA, he has been found incompetent to stand trial in the
past, he was on the EOP level of mental health treatment in
prison (the highest level of mental health treatment outside
of the inpatient unit), and he was at Atascadero State
Hospital as an MDO (Mentally Disordered Offender, a status
that requires a DMH and CDCR psychiatrist to declare that
the individual suffers from an ongoing serious mental
illness). He told me that he knew that he needed mood-
stabilizing and anti-psychotic medications, but he said that
they made him groggy and that he did not take them
because he felt that he must stay alert to protect himself
and avoid trouble from other inmates while in jail. He
believes that the racial tensions In the jail create hostile
situations, and a prisoner taking psychiatric medications is
in grave danger of attack. On mental status examination he
currently exhibits obvious signs of active psychosis,
including auditory hallucinations, a belief that people in
other places hear us talking, that some unknown person is
talking about him, and "I can feel them touching me right
now, they make me do things." He exhibits a flat, bizarre
stare and is very concrete. When he does not receive the
medications he needs he has trouble controlling his temper,
gets into fights, and winds up in disciplinary housing, where
his psychiatric problems worsen. He reports that "some of
the officers are OK," but others threaten and abuse the
prisoners, most often mentally ill prisoners. He would like
to take medications, but he feels he needs to be in mental
health housing for it to be safe to do so. He is frightened
that in general population, without his medications, he will
be picked on, or will get into a fight and hurt someone.
Currently he is prescribed some medications. He told me he
is afraid of the court fine holding tank, "there are too may

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people there and it would set me up to hurt someone and
get in trouble." Because of this fear, he refuses to go to
court.

Prisoner 0.14 clearly suffers from a chronic psychotic disorder
combined with.a mood disorder, and requires more intensive mental health
treatment than he is receiving. He does fail to comply with medications
while housed in general population, but his explanation for this - that being
on medications puts him at risk of assault - makes some sense. Many
prisoners in this and other jails have told me that psychiatric medications
slow them down and make them vulnerable to attack and less able to defend
themselves. His fear of being in the court line holding tank is well-founded.
The cell utilized for prisoners awaiting transportation to court is a small room
and very crowded. Prisoners are waked at 2AM or 3AM and placed in the
crowded cell for hours to get on a bus for court. Prisoners with serious
mental illness are mixed in this holding tank with prisoners who do not suffer
from mental illness, and the jail-issue clothing worn by prisoners with
serious mental illness identify them as psychiatric patients. This is
equivalent to forcing them to wear a bull's eye on their back saying
"victimize me." They are very vulnerable to attack from other prisoners who
stigmatize them on account of their mental illness. Instead of being mixed
in a crowded holding cell, prisoners like this man with serious mental illness
need comprehensive mental health intervention and more attention to their

very valid concerns about safety.

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In any case, medication non-compliance does not justify a downward
shift in a patient's diagnosis. In fact, medication non-compliance is a
prominent part of the picture for individuals suffering from serious mental
illness such as Schizophrenia and Bipolar Disorder, and non-compliance is
the most frequent precursor to exacerbations of serious mental illness and
re-admissions to psychiatric hospitals. There is substantial clinical research
indicating that non-compliance is most likely when an individual is seen
briefly by different clinicians, and is much less likely when a good
therapeutic relationship is established with one or a few trusted clinicians
who spend sufficient time with the patient to educate him about the
importance of complying with the treatment. This man has a long,
documented history of serious mental illness. It might be the case that his
temper outbursts, which usually occur when he is not receiving adequate
mental health treatment, make him a risk in mental health housing. But
mental health staff assure me that they have the capability within mental
health housing to manage prisoners with serious mental illness who pose a
security risk. This man definitely needs to be properly diagnosed and given
the more intensive mental health treatment that is only available in mental
health housing.

The following is an example of a prisoner who has been diagnosed correctly

but has not been monitored nor treated adequately:

Prisoner 0.15. This large, balding, 39 year old Latino man
reports he has been in some form of lock-up since his teen

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years. He was transferred to the jail from a state hospital on
11/13/07. He has repeatedly been found incompetent to stand
trial. He is currently on administrative segregation status, ina
single cell, with mental health treatment. He thinks his
diagnosis is Schizoaffective Disorder of Bipolar Disorder. He
believes the officers "have it out for me." He had been on SSI
total disability on psychiatric grounds since 1999. He has been
hospitalized at Patton State, Atascadero and Metropolitan State.
He is taking several medications, including anti-psychotic and
mood-stabilizing agents. While he was in administrative
segregation his medications were discontinued for a week by
the psychiatrist, and he "broke down." He told the nurse he was
hearing voices, seeing things, feeling panicked, and was
suicidal. Now he remains in an administrative segregation cell
by himself, takes his medications, but the only treatment he
receives is brief visits at his cell-front by the mental health staff -
when he will not really talk about anything important because
the conversation can be overheard. On his electronic chart
there is the history of past psychiatric hospitalizations, and there
are varied diagnoses, but it is noted that he suffers from a
serious mental illness and there is no plan to de-class him.

When | spoke to Dr. Markley and Dr. Kidwell about prisoners who have a
psychiatric history and a diagnosis such as Schizophrenia or Bipolar Disorder, they
assured me that individuals with a bona fide serious mental iliness in their target
population will be in mental health housing throughout their jail term, even if they are in
remission (i.e. not currently symptomatic) while being prescribed medications. In fact, in
my interviews | discovered prisoners who fit this description, who | concluded from my
review of their record, history and mental status examination, suffer from one of these
serious mental illnesses, and yet they had been "de-classed" and transferred to general
population, administrative segregation or disciplinary housing. In most cases, their

diagnoses had also been downgraded. In a few cases they were, meanwhile, on a hold

to be sent to Atascadero or Patton because of competency issues.

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It is important to note that serious mental illnesses are, mostly, lifetime
conditions that pursue a waxing and waning course. An individual suffering from
Schizophrenia might go into remission, especially if he is properly medicated and
treated, but he does not then become cured of Schizophrenia. It is a condition that
could erupt in an acute psychotic decompensation (breakdown) at any time, and
typically does so periodically. In this regard, it is troubling that the target population for
mental health housing at the Los Angeles County Jail seems to include only those with
current symptomatology. Thus, as prisoners have their life-long diagnoses downgraded
from Schizophrenia to personality disorder or malingering, it is noted that there are no
current signs of a psychotic process and no current risk of suicide. But this does not
mean the person no longer suffers from Schizophrenia, nor that he no longer poses a
risk of suicide. In fact, if such a person is subjected to the harsh conditions | have
described at Men's Central Jail, it is very likely that he will suffer a breakdown or
become suicidal.

The diagnosis of serious mental illness involves a comprehensive review of
current signs and symptoms as well as past history, clinical records, and so forth. Itis
striking how indifferent mental health staff are to evidence of serious mental illness by
history - past hospitalizations, Social Security Disability benefits, or even competency
evaluations. After all, a psychiatrist or psychologist providing a competency evaluation
spends much more time with an individual than the psychiatrist at the jail, and often
psychological assessment (testing) is completed, containing valuable information for
any clinician subsequently performing a mental health examination. | cannot

understand why the mental health clinicians at the jail consistently ignore all of this

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clinical material and look only at current symptoms as they opine that individuals who
are not acutely psychotic or suicidal at the moment they happen to examine them suffer
from no serious mental illness or are "only malingering." Again, one of the main
purposes for performing adequate psychiatric assessment in jails is to identify prisoners
who would likely suffer serious emotional problems if subjected to harsh jail conditions,
so they can be diverted into some form of mental health treatment. To conclude that
someone with a serious mental illness is not especially symptomatic at one point in time
and then deny him mental health services is entirely contrary to the purpose of mental
health assessment in jail.

In the Los Angeles County Jail, prisoners who are inappropriately "un-
diagnosed" and "de-classed" because they do not appear obviously psychotic or
suicidal at the time of one examination are at very high risk of decompensation or self-
harm when they are subjected to harsh conditions such as severe overcrowding or
isolation in disciplinary housing. This is why individuals who have a history of serious
mental illness require some degree of special housing and ongoing mental health
treatment. There is too much emphasis on current symptomatology on the part of
mental health staff, too hasty conclusions about malingering, and too little consideration
of the total clinical picture, including past psychiatric hospitalizations, court proceedings,
previous responsiveness to psychiatric medications, suicide attempts, etc. Then, if the
individual is not grossly disturbed at the moment he is assessed, possibly in reception,
he is too often declared to be malingering or suffer only from a personality disorder.
The diagnosis of serious mental illness requires a more comprehensive view of the

entire clinical picture, and the individual suffering from serious mental illness requires a

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more rigorous treatment plan that includes protection from stressful condition such as
crowded units and disciplinary segregation.

It is my understanding that North County Jail, and other outlying units will not
receive prisoners with serious mental illness who are on medications. But there are
many more programs at the North County Jail and other facilities, so, in effect, prisoners
with serious mental illness are denied access to the programs that would foster their
rehabilitation. In the final section of this report, | will recommend changes in policy that
permit more prisoners with serious mental illness to participate in programs.

It is one thing to have too many individuals requiring mental health treatment
and be unable to satisfy their needs, it is quite another to erroneously diagnose
individuals requiring mental health treatment so that it will not appear as if the mental
health resources are deficient. In the final section of this report, | will recommend that
rigorous and correct diagnosing be performed, but then the mental health staff would
have to declare that there are simply too many prisoners with serious mental illness for
the available mental health resources. That way, the problem would not be
"disappeared" by inappropriate un-diagnosing and de-classing, but rather the county
administration would be in a position to develop a plan for supplying adequate mental!

health services to the population that needs them.

VII. Disciplinary Housing Exacerbates Mental Illness and Suicidality
| know from my tour, from the clinical literature, and from my interviews with
prisoners at Los Angeles County Jail and other correctional facilities, that a

disproportionate number of prisoners with serious mental illness predictably wind up in

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punitive segregation. For some, it is a matter of their mental illness leading to irrational
acts and rule violations; for others it is ‘a matter of losing control of their emotions and
getting into altercations; and for still others it is a matter of breaking down only after
being consigned to segregation for a lengthy period of time. | am often asked whether
prisoners with serious mental illness are selectively sent to punitive segregation, or do
the harsh conditions of isolation and idleness cause psychiatric decompensation in a
vulnerable sub-population of prisoners? Of course, both mechanisms are in play. The
result is that whenever | tour the segregation area of a correctional facility, | discover a
very large proportion of prisoners confined therein to be exhibiting the signs and
symptoms of serious mental illness.

Of course, the presence of prisoners with serious mental illness in segregation
units heightens the noise level and the overall chaos. Prisoners who are not suffering
from serious mental illness tell me it is extremely difficult to sleep in a unit where
several prisoners with serious mental illness are up all night shouting and crying. And
when a prisoner with serious mental illness spits or flings excrement at an officer and
the officers sprays an immobilizing agent on that disturbed/disruptive individual, the
prisoners in neighboring cells experience the effects of the gas that wafts into their cells
even though they have done nothing to provoke an assault by the officers. In other
words, the disproportionate placement of prisoners with serious mental illness in
segregation units tends to exacerbate the general level of pandemonium.

Many prisoners at the Los Angeles County Jail with serious mental

illness, who do not receive adequate treatment, are eventually consigned to

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terms in segregation. As | have already mentioned, the disciplinary segregation

cells are very small and have no windows. | will offer one example:

Prisoner 0.12. This 51 year old African American, balding man
was interviewed while housed in TT2, Unit 152, a mental health
housing unit. He has been in the jail since 5/19/07. He had
been receiving SSI disability. since age 18, and had been
hospitalized at both Camarillo State Hospital (since closed) and
Metropolitan State Hospital prior to the current booking. He had
also been adjudged MDO (Mentally Disordered Offender) after a
previous prison term and hospitalized at Atascadero State
Hospital. When he was arrested this time he was not taking his
psychiatric medications. He has also resided in a halfway
house in the community, and has been homeless. Upon
booking, he was placed in general population and immediately
was in disciplinary trouble. He says he was roughed up by
officers. He eventually was transferred to the 7th floor inpatient
mental health unit, and was started on Prolixin Decanoate, a
depot (long-lasting) injection form of an older anti-psychotic
medication. His mental status is consistent with a chronic
psychotic disorder, probably Schizophrenia. He reports that
when he is in general population he gets into trouble. He has
been sent to "the hole" (disciplinary housing) three times during
this stint in the jail, each time for 30 days. He describes
worsening psychiatric symptoms when he is in “the hole,"
including talking to himself, severe insomnia, inappropriate
crying, seeing visions coming out of the walls, and being
incapable of knowing whether the visions were real or imagined.
JMET came to see him when he was in segregation, but only at
cell-front, and even though he knew his condition was
deteriorating and he needed medications, he did not want to talk
to them because other prisoners in nearby cells would hear the
conversation, as would officers passing by. On his clinical chart
the diagnosis is deferred and a recent note contains a treatment
plan to watch him for a while after he decided to discontinue
medications, and then "de-class" him or remove him once again
from mental health housing. This man obviously suffers from
chronic serious mental illness, tends to non-comply with
treatment, but also tends to get locked up in segregation when
off his medications and not in treatment, and then deteriorate
further in disciplinary segregation. Yet the current plan is to de-
class him once again.

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lt has been known for as long as segregated housing has been practiced
in jails and prisons that human beings, especially those prone to mental illness,
suffer a great deal of pain and mental deterioration in segregation. This is
especially the case for prisoners who suffer from mental illness. Thus, in 1890,
the U.S. Supreme Court found that “[a] considerable number of prisoners fell,
after even a short confinement [in isolated confinement], into a semi-fatuous
condition, from which it was next to impossible to arouse them, and others
became violently insane; others still, committed suicide; while those who stood
the ordeal better were not generally reformed, and in most cases did not recover

sufficient mental activity to be of any subsequent service to the community.”

Human beings require some degree of social interaction and productive
activity to establish and sustain a sense of identity and to maintain a grasp on
reality. In the absence of social interactions, unrealistic ruminations and beliefs
cannot be tested in conversation with others, so they build up inside one’s mind
and are transformed into unfocused and irrational thoughts. Without social
interactions, individuals have no way to test the reality of their fantasies, and
thus there is a tendency toward paranoia and an inability to control the rage that
mounts with each perceived insult. An example from everyday life in the
community; | walk into a room, two people are talking and lower their voices as |
enter. | have the momentary fantasy they were talking about me and that’s why
they lowered their voices when | walked in; | approach them and their friendly

greetings disabuse me of what | now can judge to be an erroneous and paranoid

 

11 Inre Medley, 134 U.S. 160, 168 [1890].

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fantasy on my part. This kind of reality testing goes on in everyone's daily life.
We have suspicions, negative thoughts and fears, and our subsequent
interactions with others permit us to test their reality. Prisoners in isolated
confinement have no opportunity to “check out” their possibly paranoid
projections with a sympathetic person, and they multiply and go untested. This

is merely one example of the debilitating effects of isolated confinement.

Productive activities serve as a basis for testing the reality of imagined
thoughts, for maintaining a sense of one’s worth or self-esteem, and for testing
the wisdom of acting out inner impulses, and they provide a necessary outlet for
physical and psychological energy. Where productive activities are severely

restricted, the resulting idleness multiplies the effects of social isolation.

Prisoners in segregation do what they can to cope. Many pace
relentlessly. Those who can read books and write letters. But many prisoners
are illiterate. Evidence is accruing that illiterate prisoners fare less well than
others in isolated confinement. This makes sense; if one is alone in a cell nearly
24 hours per day and cannot even read the newspaper or write a letter, the
sense of unreality and isolation grows. Prisoners prone to or suffering from
mental illness have even more difficulty concentrating than do others, and many,
on account of anxiety or hallucinations or obsessions or despair, find it

impossible to read or write while restricted to a cell.

In the context of near-total isolation and idleness, psychiatric symptoms

emerge in previously healthy prisoners. For example, a prisoner may feel

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overwhelmed by a strange sense of anxiety. The walls may seem to be moving
in on him (it is impressive how many prisoners in isolated confinement
independently report this experience), He may begin to suffer from panic
attacks wherein he cannot breathe and he thinks his heart is beating so fast he
is going to die, Almost all prisoners in segregation tell me that they have trouble
focusing on any task, their memory is poor, they have trouble sleeping, they get
very anxious, and they fear they will not be able to control their rage. Other
researchers report these symptoms in a large majority of prisoners in isolated
confinement.'? The prisoner may find himself disobeying an order or
inexplicably screaming at an officer, when really all he wants is for the officer to
stop and interact with him a little longer than it takes for a food tray to be slid
through the slot in his cell door. Many prisoners in isolated confinement tell me
it is extremely difficult for them to contain their mounting rage, and they fear
losing their temper with an officer and being given a ticket that will result in a

longer seg term.

Social psychologist Craig Haney has conducted research with a large
number of prisoners in isolated confinement. He randomly selected prisoners
and found very high prevalence rates for a large list of emotional symptoms.
Over 80% of the prisoners reported massive anxiety. Likewise, over 80% of the
prisoners complained of headaches, troubled sleep, and lethargy. Over half

complained of nightmares, heart palpitations, violent fantasies, depression or

 

12 Haney, Craig, “Mental Health Issues in Long-Term Solitary and ‘Supermax’ Confinement,” Crime & Delinquency,
49,124,127, 2003.

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despair, and fear of impending nervous breakdown. Complaints of obsessive
ruminations, confused thought processes, oversensitivity to stimuli (a strong

startle reaction), irrational anger and social withdrawal were widespread.'®

Psychiatrist Stuart Grassian examined prisoners during their stay in
segregated, near-solitary confinement units and concluded that these units, like
the sensory deprivation environments that were studied by psychologists in the
1960s, often induce psychosis, especially in prisoners who have histories of

mental illness or a predisposition to psychiatric breakdown.

| will not review all of the research literature here, but there has been a
substantial amount of research into the harmful effects of isolated confinement,
especially if the prisoner thus confined suffers from a serious mental illness or is
vulnerable to mental illness. In their amicus brief in Wilkinson v. Austin, leading
mental health experts summarize the clinical and research literature about the
effects of prolonged isolated confinement and conclude: “No study of the effects
of solitary or supermax-like confinement that lasted longer than 60 days failed to

find evidence of negative psychological effects” (p. 4).

It has been my experience, from tours and well over a thousand clinical
interviews with prisoners in isolated confinement units in ten states, that the
conditions that cause emotional distress in relatively healthy prisoners cause

psychotic breakdowns, severe affective disorders and suicide crises in prisoners

 

13 Haney, Craig, “Mental Health Issues In Long-Term Solltary and ‘Supermax’ Confinement,” Crime & Delinquency, 49,124,127, 2003.

14, Grassian, Stuart, "Psychopathological Effects of Solitary Confinement," American Journal of Psychlatry, 140, 11, 1450-1464, 1983.

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who have histories of serious mental illness, as well as in a certain number of
prisoners who never suffered a breakdown in the past but are prone to break
down when the stress and trauma become exceptionally severe. When an
average individual who is placed in isolated confinement develops massive free-
floating anxiety, hyper-responsiveness, paranoid ideas, confusion, perceptual
distortions, motor excitement and so forth, and becomes frightened he will not
be able to control his aggressive fantasies, just imagine how difficult it would be
for someone who is prone to paranoid psychosis or suicidal despair to remain
balanced. Dr. Grassian’s last reported psychiatric symptom, the rapid reduction
of symptoms upon termination of isolation, may or may not occur — in my clinical
experience, once an individual crosses a line into psychosis or depressive
despair, it is very possible that removal from the harsh conditions of isolated

confinement will not be sufficient to bring him back to.a normal mental state.

Obviously, placing a prisoner with a mental illness in a segregation cell
has very negative effects on his mental health. Yet, when prisoners with mental
illness are miss-diagnosed, inappropriately un-diagnosed, inadequately treated
and relegated to general population in an overcrowded and otherwise harsh
environment such as MCuJ, they are quite likely to run afoul of the disciplinary
system and wind up in segregation. This pattern Is reflected clearly in many of

the declarations | reviewed and the stories of prisoners | interviewed.

Vill. Abuse on the Part of Custody Staff is a Big Problem

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It is always difficult to prove that custodial abuse has occurred, since it so often
becomes a matter of "his word against his word," and custody staff very rarely testify
against each other. But at the Los Angeles County Jail the claims by prisoners are so
widespread, and the reports of abuse so consistent among multiple reporters, that it
seems very likely there is an unacceptably high incidence of custodial abuse. Multiple
prisoners have told me about abuse they have undergone or witnessed, and most say it
is disproportionately directed at prisoners with serious mental illness. Of course, to the
extent this problem exists, it is made worse by inappropriate un-diagnosing and
consignment of prisoners suffering from serious mental illness to general population
housing. Of course, to the extent there is abuse by custody staff, mental health staff
suffer consequences. First, they know about the abuse and feel in a bind about
reporting. Then, the abuse worsens the condition of their patients.

| will present one example of several | could cite from my interviews.

Prisoner 0.7. This 47 year old man has been in jail since
February, 2007, he reports it is his first jail term. Although the
diagnoses in this man's chart include malingering, he
relates a long history of psychiatric treatment, beginning
with a suicide attempt at age 18 which led to his
placement in Louisiana state hospital, he has been in and
out of state psychiatric hospitals, and he was for 20 years
on SSI for psychiatric disability in the community. He
evidences tremors of the arm and tongue, possible signs
of tardive dyskinesia. He says he is not taking

psychiatric medications now, and has not been prescribed
psychiatric medications since being booked, but he had
been on at least two different anti-psychotic agents prior
to his arrest. His symptoms include severe insomnia,
crying inappropriately, anxiety, agitation, and obsessive
thoughts. On mental status examination he is very
depressed, cries uncontrollably and exhibits impressive
psychomotor retardation and a sense of hopelessness -
clear signs of Major Depressive Disorder. The bruises on

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his face are prominent and one wonders about recent
beatings. He is very vulnerable to and fearful of deputy
abuse and seems unable, on account of psychiatric
disability, to function In a regular custody environment.
However, he does NOT want to go to the 7th floor mental
health program because he has had some bad
experiences with custody staff there. (He reports that he
was beaten in TT1, and Internal Affairs investigated.) He
needs more intensive mental health intervention than he
currently receives.

According to this man's 7/3/07) declaration: "| asked for psych
medications but | did not get them... | was moved to Wayside for
acouple of months. | saw a mental health person there and
again asked for meds. | need the psych meds for depression and
suicide. | still did not get any medication even though | asked for
it at sick call.... Since I've been at MCJ | have gone to suicide
watch in the Twin Towers two times. When I'm there they take
away my clothes, took away my mattress,... ] usually stay there
about one week. | have been on psych meds since my mid-20's.
In about 2000, | was in Atascadero for about a year and a half...
Every day at sick call | ask the staff for medication but | still don't
get any... Since | don't have my meds | can't sleep and | am
really depressed." A 7/14/07 Log Sheet Report verifies that this
man tried to hang himself with a jail-issued t-shirt. According to
ACLU notes, he has never received psychiatric medications since
being arrested.

In this man's chart the diagnosis is "malingering," he is not given medication, but
there are notes reflecting the possibility of mental retardation. While many prisoners with
serious mental illness are retained in mental health housing and receive adequate
treatment, many others, including Prisoner 0.7, are "de-classed" and left to the crowded
conditions, where they get into trouble and are at disproportionate risk of disciplinary

confinement. | am fairly certain this man has been beaten by custody staff.

Following my May 8/May9 tour of the jail I reported my concerns about
six prisoners, Prisoners 0.3, 0.7, 0.9, 0.13, 0.14 and 0.18 to ACLU

attorneys. Ms. Mary Tiedeman of the ACLU sent a Memo to Dr. Kidwell on

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May 13, 2008, reporting my concerns about these 6 prisoners. I have
discussed Prisoners 0.3, 0.7, 0.13 and 0.14 in this Report. For the sake of
completeness, I will quote from that Memo about the additional two
prisoners:

"Prisoner # 0.9 suffers from a combination of functional mental
illness, developmental disability and possibly organic brain
disorder. His behavior is regressed and inappropriate. He is
intermittently prone to self-harm. In his chart, the diagnoses
ASPD and malingering are listed, but they do not adequately
reflect the severity of his psychiatric disability. He cannot
program in general population on account of psychiatric
disability, he needs to be in a mental health program and not
in isolated confinement.

"Prisoner # 0.18 has a history of very serious early traumas.
He has an extensive history of self-harm. Diagnoses in his
chart range from Psychosis NOS and Mood Disorder NOS to
“Cluster B.” He wants to talk to someone about his severe
anxiety and emotional turmoil, he poses a significant risk of
self-harm, and he needs more intensive mental health
treatment than he currently receives. At present, he is locked
in his cell 22 hours per day in Tower.2. He needs to be moved
back to mental health housing where he can have greater
access to programming. Pain related to a neuropathy is not
adequately treated.

X. Summary: Crowding and Inadequate Mental Health Care, a Toxic Combination
Serious mental illnesses such as Schizophrenia or Bipolar Disorder typically
exhibit a waxing and waning course over a lifetime that includes periodic acute episodes
alternating with periods of relative stability when the individuals comply with treatment,
including the proper medication regimen. Research shows that the longer an
individual's acute psychotic or depressive episode is left untreated, the worse his

prognosis. Research also shows that early detection of serious mental illness, removal

of the individual suffering from mental illness from the noxious and traumatizing

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environment, and intensive comprehensive treatment greatly improve prognoses.
Mental health clinicians in the community work hard to detect serious mental illness
early and provide people vulnerable to serious mental illness a sheltered and
therapeutic environment, and the standards in correctional mental health require the
same commitment. Clinicians are required to try their best to provide intensive
treatment, including but not limited to medications, and to protect the individual from
repeated traumas — all this in the hope of improving his or her condition and prognosis.
Conversely, and tragically, if the individual is left untreated or inadequately treated in a
situation that is extremely stressful and traumatic, the psychosis or depression worsens
and the prognosis becomes more grave.

While mental health services at Los Angeles County Jail have improved in recent
years in many regards, there are large gaps in services, the jail has become massively
overcrowded, and there is disturbing evidence of custodial abuse of prisoners with
serious mental illness. A major problem is the large number of prisoners entering the
jail who suffer from serious mental disorders and the relative shortage in mental health
treatment resources. The large census in the facility, and resultant crowding and
idleness at every level, further exacerbate the problems. A very frequent occurrence is
the discharge of prisoners with serious mental illness from the mental health housing
units in the Twin Towers and their transfer to general population, disciplinary housing or
administrative segregation at Central Men's Jail or elsewhere, where there is severe
crowding, almost no mental health treatment aside from psychotropic medications, very
little out-of-cell time and almost no programming, and in too many cases victimization by

other prisoners and/or significant abuse at the hands of custody staff.

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It is very difficult for prisoners in non-mental health housing to get mental health

treatment, and the treatment that exists is limited almost exclusively to medications.
Then, in the absence of needed mental health treatment, a disproportionate number in
this population find their way into disciplinary housing, where the enhanced isolation
and idleness lead to even more exacerbation of their psychiatric disorder and disability.
The JMET team attempts to identify psychiatrically impaired prisoners outside the
mental health housing units, but their rounds are not adequate to the overwhelming
task, prisoners report great difficulty attaining their services, and they provide very little
ongoing mental health treatment. There are many reports of abuse by custody staff,
and independent reports from many prisoners that the abuse is disproportionately

directed at prisoners suffering from mental illness.

XI. Recommendations for Remedy

1. Significantly decrease the population of Los Angeles County Jail. Massive
crowding in the jail makes it extremely difficult for mental health staff to diagnose and
treat all prisoners in need of their services, it makes the conditions extremely noxious
for anyone suffering from mental illness who is not in mental health housing, and it
increases violence, suicides and psychiatric breakdowns. This is a huge issue, and
requires thoughtful planning vis a vis remedy. Diversion and early release to treatment
programs would help a lot. For prisoners with serious mental illness, diversion as an
alternative to jail time makes a lot of sense, and the individuals can be diverted to
mental health treatment settings in the community. The Sheriff also has the authority to

release other prisoners in order to improve the crowding, and he should do so because

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the reduction of crowding in general (i.e. involving early release of prisoners who do not
necessarily suffer from mental illness) would have the effect of making conditions in the
jail much more endurable for the remaining prisoners suffering from mental illness.
Other interventions are needed, but fall beyond the scope of this report.

2. The dreadful idleness and lack of programming must be addressed.
Prisoners need to be involved in programs and spend a significant amount of their day-
time hours out of their cells, in day rooms, in the cafeteria, etc.

3. Attend to other harsh conditions discussed in this report, including lighting, a
lack of desks and chairs in cells and dormitories, a relative lack of direct supervision,
and noise levels. Open day rooms and cafeterias for use by all prisoners except those
in segregation. Provide mandated recreation opportunities.

4, Remove prisoners with mental illness from overcrowded, toxic settings.
Create more housing dedicated to providing treatment and safety to prisoners with
serious mental illness. An outpatient service for prisoners who do not meet criteria for
mental health housing is acceptable, but placing this group of prisoners in harms way in
overcrowded, unsafe conditions such as those that prevail in general population at MCJ
today is entirely unacceptable. When the crowding, idleness and other harmful
conditions are ameliorated, outpatient mental health services can be located in MCJ -
but careful thought needs to be given to the possibility of separating housing for
prisoners on the mental health caseload from those who are not on caseload. In other
words, even in less toxic conditions, stop mixing populations, i.e. those with mental

illness and those who suffer from no significant mental illness.

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5. Exclude prisoners with serious mental illness from administrative
segregation and disciplinary housing, where the isolation and idleness predictably
exacerbate their psychiatric disorder and disability. They need to be in mental health
housing.

6. Mental Health services need to be expanded greatly, especially in non-
mental health housing areas. To effect a remedy of the inadequacies in mental health
services, the following things must be done, at a minimum:

a. Halt the inappropriate down-grading of diagnoses

b. Give serious consideration to pre-existing psychiatric histories and
current court psychiatric assessments

c. Make mental health treatment accessible to prisoners in all areas of
the jail

d. Provide consistent follow-up to Crisis Intervention and stays in TT1
with ongoing mental health treatment wherever the prisoner is
transferred

e. Improve JMET interventions. There needs to be more comprehensive
outpatient mental health services in general population,
administrative segregation and disciplinary housing units,
including private, confidential psychotherapy, both individual and
group, as appropriate, and psychiatric rehabilitation modalities
must be made available to all prisoners with mental illness,
whether or not they reside in mental health housing. Either the

number of mental health clinicians on the JMET teams must be

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expanded accordingly, or a new organization of outpatient mental
health services must be devised.

f. Halt cell-front interviews except for very brief contacts during rounds.
lf a prisoner is in need of an extended visit with a mental health
clinician, that prisoner must be removed from his cell and taken to
a private office where a confidential contact can occur.

g. Provide a range of mental health services at North County Jail so that
prisoners with mental illness can be treated there and at the same
time take part in programs that are only available there.

h. Provide sufficient staff and the right setting to permit meaningful
therapeutic relationships between mental health clinicians and
prisoner/patients. The quality of the relationship is what makes
mental health treatment effective. There is no substitute for
taking time to talk to patients about their problems, and this is true
in all settings, from the intensity of suicide observation and 5150
status to the outpatient treatment of a prisoner in general
population.

i. The bottom line is more services, meaning more staffing. This might
seem a large expense in these times of budget constraints, but
services offered in the jail would diminish the need for services
elsewhere

7. Provide more substance abuse treatment in groups in mental health housing

as well as general population, administrative segregation and disciplinary housing

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8. Provide more comprehensive post-release planning, including housing,
medication (currently medications are not provided), arranging disability and other
benefits, and social services. This requires contact between prisoners and service
providers in the community while the prisoners are still in the jail. This approach is
already being enacted in the regional mental health housing units at Twin Towers 1, but
needs to be expanded to include all necessary services for all prisoners with mental
illness. Costs would be minimal compared to savings in terms of re-admissions to the
jail

9. Training of staff must be enhanced. All officers, not only those working in
TT1, must be required to undergo intensive training in working with prisoners with
mental illness. Training in gender sensitivity, multicultural sensitivity, and so forth
should be included in the package.

10. Take all effective steps to halt custodial abuse. The remedy includes zero
tolerance from the top, education for prisoners about their rights and the grievance
process, training and support to encourage staff to report abuse by other staff, a
confidential complaint system that fosters prisoner trust and action, and prompt and
thorough investigation with appropriate consequences for offending staff. Staff
members must be required to report abuse by other staff members, and must be
disciplined if they fail to do so. This includes mental health staff, wno must be required
to report custodial abuse and must be protected from retaliation when they do so. The
reporting procedure must be entirely confidential and protection from retaliation must be

guaranteed. Use of a neutral ombudsman for this purpose, rather than relying on

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Sheriff's deputies in an internal investigatory role, might prove useful. This should all be
part of a "zero tolerance" edict on the part of jail administration.

41. In terms of future planning, prioritize constructing more mental health
beds/cells, not high security and disciplinary housing beds.

12. More robust monitoring is needed. Both the DOJ and the ACLU have been
involved in monitoring the Los Angeles County Jail for many years, yet deficiencies and
abuses continue. A court-appointed monitor or Master should be appointed, and
collaborate closely with the Court while monitoring the conditions and mental health

services at the Los Angeles County Jail.

Respectfully submitted,

Terry A. Kupers, M.D., M.S.P.

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